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                          UNITED STATES DISTRICT COURT
                               DISTRICT OF NEVADA


MURRAY D. FORD AND GEORGINA FORD              Case No.: 2:16-cv-00344-RFB-PAL
             Plaintiff,

      vs.

NATIONSTAR MORTGAGE, LLC                             JOINT PRETRIAL ORDER

            Defendant.
______________________________________

      IT IS ORDERED:

                                        I.

Murray D. Ford and Georgina Ford v. Nationstar Mortgage, LLC
Case No.: 2:16-cv-00344-RFB-PAL

                                        II.

Attorneys for Plaintiffs, Murray and Georgina Ford

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       Donna Taylor-Kolis (application for pro hac vice to be submitted)
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                                               III.

        The parties agree that this Court has subject matter jurisdiction over this case. Jurisdiction
is conferred pursuant to 28 U.S.C. §1331 the Real Estate Settlement Procedures Act, 12 U.S.C. §§
2601, et seq. (RESPA) and the Fair Debt Collection Practices Act, 15 U.S.C. § 1692, et seq.
(FDCPA). Plaintiff further contends that this action is specifically filed to enforce regulations
promulgated by the Consumer Finance Protection Bureau (CFPB) that became effective on
January 10, 2014, specifically, 12 C.F.R. §§ 1024.35 et seq., of Regulation X. Defendant does not
dispute that this Court has subject matter jurisdiction but has contested whether the cited
regulations provide a private right of action.
       The parties agree that this Court has supplemental jurisdiction to hear any and all state law
claims pursuant to 28 U.S.C. §1367.
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       The parties agree that venue lies in this District pursuant to 28 U.S.C. §1391 as the Fords
maintain the Property as their primary residence.
                                               IV.
       This is an action arising out of Nationstar Mortgage, LLC’s alleged violations of:

       (1) RESPA, 12 U.S.C. § 2605, et seq.; and Regulation X of RESPA, 12 C.F.R. § 1024.35
           (d) (Counts 1 and 2) (both counts dismissed);
       (2) RESPA, 12 U.S.C. § 2605, et seq.; and Regulation X of RESPA, 12 C.F.R. § 1024.35
           (e)(1) (Counts 3 and 4);
       (3) FDCPA, 15 U.S.C. § 1692, et seq.; (Count 5)
       (4) Nevada common law for breach of contract (Count 6) (dismissed);
       (5) Nevada common law for the beach of the implied covenant of good faith and fair
           dealing; (Count 7)
       (6) and, Nevada Revised Statute 41.1395 (elder abuse) (Count 8) (dismissed).

PLAINTIFF’S POSITION:

        Plaintiffs Murray and Georgina Ford (the “Fords” or “Plaintiffs”) assert that Defendant
Nationstar Mortgage, LLC (“Nationstar”), during their actions as the servicer for the Fords’
mortgage loan on their home, repeatedly failed to properly handle a settlement agreement arising
from Adversary Proceeding No. 14-01034-MKN in the United States Bankruptcy Court for the
District of Nevada which was centered around a failure to properly apply payments to the loan in
accordance with a modification entered into with the predecessor servicer. The Fords made timely
payments in accordance with the modification and the settlement agreement, yet Nationstar failed
to properly apply such payments; subsequently improperly claiming the Fords were delinquent in
their obligations and imposing various fees as a result of such. The Fords sent multiple notices of
error pursuant to 12 C.F.R. § 1024.35 in an attempt to have Nationstar correct these servicing
errors, but the errors were not corrected in response to such correspondences. As a result of
Nationstar’s refusal to correct their servicing errors and threatening foreclosure, the Fords filed the
instant action.

DEFENDANT’S POSITION:

        This case arises from an unintentional and inadvertent mistake made by Nationstar in
connection with servicing Plaintiffs’ mortgage loan. Nationstar mistakenly misapplied a
settlement payment due Plaintiffs by allocating too much of the payment to Plaintiffs’ escrow
account and not enough to the delinquent principal owed on the loan. This mistake led Nationstar
to mistakenly believe that the Plaintiffs were still delinquent on their mortgage. Once the mistake
was discovered, Nationstar fully corrected it and even applied some of its own funds to bring
Plaintiffs’ mortgage loan current.

        The mistake was caused in part by the complicated nature of Plaintiffs’ loan (which had
been in bankruptcy; had been modified by another servicer and involved a somewhat unusual loan
terms). While this does not excuse Nationstar’s error, it does show that the mistake was inadvertent
and occurred despite the fact that Nationstar has in place procedures designed to ensure these types
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of mistakes do not occur. Nationstar denies that failed to respond to notices sent by the Fords but
acknowledges that its responses were in error based on its good faith belief that the loan was
delinquent and that all payments had been properly applied. Nationstar further disputes that it
breached any obligation of good faith and fair dealing because, at the time, it believed it was
complying with all of its obligations.

                                                  V.

It is estimated that the trial will last no longer than five (5) days. A jury trial has been requested.
                                                  VI.
The parties have not consented to a trial by a magistrate judge.

                                                 VII.
Any Stipulations or Agreed Statements of Fact or Law to which all parties consent.


STIPULATED FACTS:
   1. In August 2004, Plaintiffs took out a note and deed of trust (collectively, the “Loan”) on
      their home at 3204 Grey Dolphin Drive, Las Vegas, Nevada 89117. (ECF No. 1, at ¶¶ 1, 4,
      20.)
   2. A Bank of America affiliate originated and initially serviced the Loan. (ECF No. 1, at ¶ 25;
      Ex. A, Note.)
   3. The Fords ultimately defaulted on the Loan, and filed for bankruptcy in November, 2009,
      in order to keep their home. (ECF No. 1, at ¶¶ 23-24.)
   4. As a result, Plaintiffs entered into a Loan Modification Agreement (the “Modification”)
      with Bank of America in April, 2010. (ECF No. 1, at ¶ 2; ECF No. 1-4, at pp. 5-7.)
   5. The Modification rolled $22,892.22 of delinquent interest, fees, and costs into the Loan
      principal and converted the Loan into a step rate loan, in which the interest rate on
      Plaintiffs’ Loan would increase from 2.000% to 3.000% on specified dates between June
      1, 2010 and June 1, 2015; Plaintiffs’ monthly payment would increase from $644.87 to
      $967.30 on those same dates; and those monthly payments would be interest-only (i.e.,
      they would not decrease the principal of the loan). (ECF No. 1, at ¶ 27; ECF No. 1-4, at p.
      5.)
   6. Plaintiffs were also responsible for making monthly escrow payments to cover taxes and
      insurance on their home, but the Modification does not specify the amount of those escrow
      payments or otherwise discuss them. (See ECF No. 1-4, at pp. 5-7.)
   7. The amount necessary for Plaintiffs’ escrow account was based upon the applicable taxes,
      property value, and insurance costs. Nationstar is required as servicer to collect the escrow
      amounts until such sums are paid out to the applicable third parties (e.g., the state or local
      government and insurer). Escrow amounts change regularly, and Nationstar does not keep
      any unused funds in escrow accounts. Instead, such funds are applied year over year for
      the benefit of the borrower or, as may be otherwise required, returned to the borrower.
      (ECF No. 50, Ex. B, Decl. of K. Trompisz, at ¶ 5.)
   8. On July 1, 2013, Nationstar began servicing Plaintiffs’ Loan. (ECF No. 1, at ¶ 5.)
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9. Nationstar does not now and has never owned the Loan; that is Nationstar has never been
    the lender on the loan.
10. In February, 2014, Plaintiffs filed an Adversary Complaint in their bankruptcy against
    Bank of America and Nationstar, complaining of errors made in the servicing of their
    account while Bank of America was the servicer. (ECF No. 1, at ¶ 36.)
11. On or about March 13, 2015, the Fords, Bank of America, and Nationstar settled the
    Adversary Complaint. To that end, the parties entered into a confidential settlement. (ECF
    No. 1, at ¶ 37; ECF No. 50, Ex. C, Settlement Agreement.)
12. Bank of America and Nationstar made their respective payments to provide the Settlement
    Payment to Plaintiffs. As also required, the Holdback Payment was applied to Plaintiffs’
    Loan. Plaintiffs kept the remaining Settlement Payment. (ECF No. 50, Ex. B, at ¶ 6.)
13. However, in applying the Holdback Payment, Nationstar used a different escrow
    calculation than had been previously used. This new calculation increased the amount of
    the escrow, and thus a larger share of the Holdback Payment was applied to the escrow.
14. This also resulted in less of the Holdback Payment being applied to outstanding principal
    and interest. As a result, despite the Holdback Payment, Nationstar claimed Plaintiffs owed
    additional amounts.
15. Believing Plaintiffs to be delinquent, Nationstar then erroneously deemed the subsequent
    monthly payments as insufficient to bring the account current, which in turn caused any
    payments by Plaintiffs to be placed into a suspense account before being applied.
16. On or about July 13, 2015, Plaintiffs’ attorney sent Nationstar a letter, which he followed
    with a “Request for Information Pursuant to 12 C.F.R. § 1024.36” (the “RFI”) on August
    31, 2015, expressing concerns about the Loan and seeking information concerning it,
    including a transaction history and payoff statement. (ECF No. 1, at ¶¶ 50-51.)
17. Nationstar responded to Plaintiffs’ correspondence on September 9, 2015, stating that
    Nationstar had identified no errors on Plaintiffs’ Loan. (Id., at ¶ 53; ECF No. 1-13; ECF
    No. 50 Ex. D, at 72:15-73:8.)
18. Nationstar’s September 9, 2015 letter also included the Detail Transaction History
    Plaintiffs had requested, and invited Plaintiffs to provide additional documentation if they
    still believed there was an error on their Loan. (ECF No. 1, at ¶ 54; ECF No. 1-13.)
19. Nationstar provided Plaintiffs with the requested payoff statement on or about September
    22, 2015. (ECF No. 1, at ¶ 58; ECF No. 1-14.)
20. On or about September 26, 2015, Plaintiffs still believing there were errors on their Loan
    took Nationstar up on its invitation to provide additional documentation through a “Notice
    of Error(s) pursuant to 12 C.F.R. § 1024.35(b); and Request for Information pursuant to 12
    C.F.R. § 1024.36” (“NOE #1”), which Plaintiffs sent to Nationstar via Certified Mail. (ECF
    No. 1, at ¶ 60; ECF No. 1-16.)
21. Just four days later, on September 30, 2015, Plaintiffs sent another “Notice of Error(s)
    pursuant to 12 C.F.R. § 1024.35(b); and Request for Information pursuant to 12 C.F.R. §
    1024.36” (“NOE #2”), again via Certified Mail. (ECF No. 1, at ¶ 68; ECF No. 1-17.)
22. NOE #2 was virtually identical to NOE #1; it merely reasserted the same errors alleged in
    NOE #1 and added one additional alleged error. (ECF No. 1, at ¶¶ 69-70.)
23. Plaintiffs allege that Nationstar received both NOE #1 and NOE #2 on the same day, on or
    around October 7, 2015. (Id., at ¶¶ 98, 118.)
24. Ultimately, still believing that there were errors with their Loan, Plaintiffs filed this lawsuit
    on February 19, 2016, alleging several statutory claims under federal law, as well as state-
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      law claims for breach of contract, breach of the implied duty of good faith and fair dealing,
      and elder abuse. (ECF No. 1.)
  25. As a result of the filing of this lawsuit, Nationstar conducted an even more thorough
      internal investigation of Plaintiffs’ Loan that ultimately determined in November, 2016
      that the escrow amount had been miscalculated which caused Plaintiffs’ payments to be
      placed into suspension before being applied, and led to each and every one of the “errors”
      Plaintiffs identified in their NOEs and this lawsuit, including the alleged inaccurate
      statements, charges, and fees described in Count Five of Plaintiffs’ Complaint. (ECF No.
      50, Ex. D, at 78:16-79:1, 80:19-81:21; ECF No. 50, Ex. B, at ¶¶ 8-9)
  26. If not for the escrow miscalculation, each of the inaccurate statements, charges, and fees
      would have been accurate. (Ex. B, at ¶¶ 8-9.)
  27. Upon discovering the escrow miscalculation, which was after the instant litigation was
      commenced, Nationstar corrected the calculation, and re-applied Plaintiffs’ payments
      correctly with any and all late fees, charges, and penalties resulting from the escrow
      miscalculation have been removed (ECF No. 50, Ex. D, at 41:13-42:9, 65:14-22; ECF No.
      50, Ex. B, at ¶ 9.)
  28. The April 2015 settlement payment would have brought the Fords’ Loan current, thus
      eliminating the need to use an escrow calculation that was premised on them being
      delinquent. (ECF No. 48, Ex. E, at 85:2-11; 86:14-20.)

                                             VIII.

PLAINTIFFS’ WITNESSES:

     Murray Ford
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     8985 S. Eastern Avenue #350
     Henderson, NV 89123
     Phone:(708) 880-5554
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     Georgina Ford
     c/o David Krieger, Esq.
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     Henderson, NV 89123
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     Heather Simonsen
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     Farmington, UT 84025
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Keith Beagles
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Dorothy Beagles
3208 Ivory Coast Drive
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Phone: (702) 481-7884

Plaintiffs’ foregoing witnesses will provide eyewitness testimony as to the damages the
Fords suffered during the pendency of the modification process and subsequent lawsuit
that followed. These witnesses will testify as to the stress, emotional and mental pain and
suffering that the Plaintiffs sustained throughout this process.

Kristen Trompisz, Corporate Representative of Nationstar Mortgage, LLC
**If Ms. Trompisz cannot personally appear for the trial, Plaintiffs reserve the right to play
the video depositions of Ms. Trompisz held on January 12, 2017 and March 22, 2017 in
their entirety*

Erika Phillips, Employee of Nationstar Mortgage, LLC
Langley Chatman, Employee of Nationstar Mortgage, LLC
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DEFENDANT’S WITNESSES:

    Murray Ford
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    Georgina Ford
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    Henderson, NV 89123
    Phone:(708) 880-5554
    dkrieger@hainesandkrieger.com
     (LIVE)
    Mr. and Mrs. Ford are the plaintiffs and will provide testimony regarding their mortgage
    loan, their dealings with Bank of America and Nationstar; any damages they contend they
    suffered and other matters discussed in their deposition.


    Heather Simonsen
    878 Melbourne Court
    Farmington, UT 84025
    Phone: (801) 205-7599

    Jeff Simonsen
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Dorothy Beagles
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Phone: (702) 481-7884

(All LIVE)
These witnesses may provide testimony regarding the Plaintiffs.

Kristen Trompisz, Corporate Representative of Nationstar Mortgage, LLC
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750 North St. Paul
Suite 600
Dallas, Texas 75201
(214) 382-3040
jtillotson@tillotsonlaw.com
(LIVE)

Ms. Trompisz is Nationstar’s corporate representative. She will testify about the matters
set out in her depositions and declaration (provided in support of Nationstar’s motion for
summary judgment).

Erika Phillips, Employee of Nationstar Mortgage, LLC
Langley Chatman, Employee of Nationstar Mortgage, LLC
c/o Jeff Tillotson
Tillotson Law, P.C.
750 North St. Paul
Suite 600
Dallas, Texas 75201
(214) 382-3040
jtillotson@tillotsonlaw.com
(LIVE or by DEPOSITION)

These two are Nationstar employees. They will testify about the matters set forth in their
depositions.

Dr. Robert Whipple
201 N. Buffalo Drive
Las Vegas, NV 89145
(702) 242-2737
(LIVE)
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       Dr. Kenneth McKinnon
       351 N. Buffalo Drive
       Las Vegas, NV 89145
       (702) 505-4230
       (LIVE)

       These two individuals are doctors who may provide testimony about the condition of
       Plaintiffs and whether they received any medical attention related to any claim in this case.

                                                  IX.

Counter-Designations or Objections


                                                  X.

A list (by each party) of exhibits to be offered in its case in chief, with one star indicating exhibits
to which no party objects on grounds of authenticity, and two stars indicating exhibits to which no
party objects on any grounds.

Plaintiffs’ Exhibits

   A. Nationstar Mortgage Payoff Statement (09/28/2015) **
   B. US Bankruptcy Court, District of Nevada, Notice of Bankruptcy Case Filing
      (11/15/2009) **
   C. US Bankruptcy Court, District of Nevada, Discharge of Debtor After Completion of
      Chapter 13 Plan (03/22/2013) **
   D. Email Thread Concerning Proposed Settlement with Nationstar *
   E. Copy of Personal Check from Murray Ford to Nationstar Mortgage in the sum of
      $4,419.72 for January – April payments (04/04/2015) **
   F. Copy of Personal Check from Murray Ford to Nationstar Mortgage in the sum of
      $1,104.94 for the May payment (04/27/2015) and email correspondence from Counsel
      Attorney David Krieger advising clients to make the January – April payment and normal
      monthly payments to Nationstar Mortgage via regular mail. *
   G. Copy of Personal Check from Murray Ford to Nationstar Mortgage in the sum of
      $1,104.94 for the June payment (05/27/2015) and request from Murray Ford to Nationstar
      to start sending statements. **
   H. Copy of Personal Check from Murray Ford to Nationstar Mortgage in the sum of
      $1260.34 for the July payment (07/05/2015) and request from Murray Ford to Nationstar
      to start corresponding. **
   I. Copy of Personal Check from Murray Ford to Nationstar Mortgage in the sum of
      $1260.34 for the August payment (07/28/2015) and request from Georgina Ford to
      Nationstar to send statements. **
   J. Nationstar’s Response to RFI (09/10/2015) *
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   K. Copy of Personal Check from Murray Ford to Nationstar Mortgage in the sum of
      $1260.84 for the September payment (09/25/2015) *
   L. Notice of Error #1 to Nationstar (09/26/2015) *
   M. Notice of Error #2 to Nationstar (09/30/2015) *
   N. Bank of America Loan Modification (04/19/2010) **
   O. Bank of America Change in Loan Servicer to Nationstar Letter (06/10/2013) **
   P. SEC- 10-Q Nationstar Mortgage, LLC
   Q. Video Deposition Transcripts dated December 16, 2016.
   R. Video Deposition Transcripts dated December 29, 2016.
   S. Video Deposition and Transcripts of Kristin Trompisz dated January 12, 2017
   T. Video Deposition and Transcripts of Kristin Trompisz dated March 22, 2017.
   U. Deposition Transcript of Erika Phillips dated March 22, 2017.
   V. Deposition Transcript of Langley Chatman dated March 22, 2017.
   W. Copy of Settlement Agreement (MSJ Exhibit C) **
   X. Copy of Letterthreatening foreclosure (NAT00919-NAT00926) *

Defendant’s Exhibits

   A. Plaintiff’s Original Note (Exhibit A to MSJ).*
   B. Plaintiff’s Mortgage and Deed of Trust.*
   C. US Bankruptcy Court, District of Nevada, Notice of Bankruptcy Case Filing
      (11/15/2009) (Exhibit A to Complaint).**
   D. Summary of Loan Modification (4/19/2010) (NAT00050).*
   E. Loan Modification (NAT00054) US Bankruptcy Court, District of Nevada, Discharge of
      Debtor After Completion of Chapter 13 Plan (03/22/2013) (Exhibit C to Complaint).**
   F. Email Thread Concerning Proposed Settlement with Nationstar (Depo. Exhibit 5).
   G. Copy of Personal Check from Murray Ford to Nationstar Mortgage in the sum of
      $4,419.72 for January – April payments (04/04/2015).*
   H. 9/9/2015 letter from L. Chatman to Fords re receipt of Correspondence (Depo. Exhibit 8).
   I. 9/25/2015 Chatman letter to Krieger (Depo. Exhibit 15).
   J. 11/17/2015 Letter from Phillips to Krieger (Depo. Exhibit 17).
   K. Nationstar Policies Regarding Escrows (Depo. Exhibit 10).*
   L. Nationstar Control Standards (Depo. Exhibit 11).*
   M. Collection History Profile (Depo. Exhibit 12).*
   N. Detail Transaction history (Depo. Exhibit 13).*
   O. Bank of America Change in Loan Servicer to Nationstar Letter (06/10/2013).**
   P. Nationstar Welcome Letter.**
   Q. Settlement Agreement with Bank of America (MSJ Exhibit C).**
   R. September 2017 Monthly Statement for Mortgage Loan.*
   S. Notice of Changes from Nationstar re Interest Rates (NAT00017-22).*
   T. Statement dated 2/14 (NAT00033 and NAT00038).*
   U. Statement dated 2014 (NAT00039).*
   V. Statement dated 2015 (NAT00041).*
   W. Nationstar letter dated 7/28/2015 (NAT00243).*
   X. Credit Report (NAT00837-846).*
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APPROVED AS TO FORM AND CONTENT:

/s/ Marc E. Dann________________________________
Signature of Attorney for Plaintiffs

/s/ Jeffrey M. Tillotson___________________________
Signature of Attorney for Defendant

                                                XI.


                                  ACTION BY THE COURT

                                                                        May 29, 2018 at 9:00 AM, Courtroom 7c
This case is set for court/jury trial on the fixed/stacked calendar on _________________________.
                                May 16, 2018 at 3:00 PM in LV Courtroom 7C
Calendar call will be held on __________________________________.

       This pretrial order has been approved by the parties to this action as evidenced by their

signatures or the signatures of their attorneys hereon, and the order is hereby entered and will

govern the trial of this case. This order may not be amended except by court order and based upon

the parties’ agreement or to prevent manifest injustice.




       April 6, 2018
DATED: ____________________.


                                                      ____________________________________
                                                      RICHARD F. BOULWARE, II
                                                      UNITED STATES DISTRICT JUDGE
